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                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION
                                      1:21-cv-22790
                Civil Action No. _________________________________

  MICHELLE HERNÁNDEZ, individually, and on
  behalf of all others similarly situated,
         Plaintiff,
  v.

  KENDALL CREDIT AND BUSINESS
  SERVICE, INC.,
        Defendant.
  _______________________________________/

                          CLASS ACTION COMPLAINT

        NOW COMES, MICHELLE HERNÁNDEZ (“Plaintiff”), individually, and

  on behalf of all others similarly situated, through her undersigned counsel,

  complaining of KENDALL CREDIT AND BUSINESS SERVICE, INC., as follows:

                            NATURE OF THE ACTION

        1.    Plaintiff brings this action seeking redress for Defendant’s violations of

  the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq., Fair Debt

  Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., and the Florida

  Consumer Collection Practices Act (“FCCPA”), Fla. Stat. § 559.55 et seq.

                           JURISDICTION AND VENUE

        2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.




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         3.    This Court has supplemental jurisdiction over Plaintiff’s state law claim

  pursuant to 28 U.S.C. § 1367.

         4.    Venue in this district is proper under 28 U.S.C. § 1391(b)(2).

                                        PARTIES

         5.    MICHELLE HERNÁNDEZ (“Plaintiff”) is a natural person, over 18-

  years-of-age, who at all times relevant resided in Homestead, Florida.

         6.    Plaintiff is a “person” as defined by 47 U.S.C. § 153(39).

         7.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

         8.    Plaintiff is a “consumer” as defined by Fla. Stat. § 559.55(8).

         9.    KENDALL         CREDIT       AND       BUSINESS       SERVICE,          INC.

  (“Defendant”) is a corporation organized and existing under the laws of Florida.

         10.   Defendant is a debt collection agency that collects debts owed to third

  parties.

         11.   Defendant maintains its principal place of business in Coral Gables,

  Texas.

         12.   Defendant is a “person” as defined by 47 U.S.C. § 153(39).

         13.   Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

  because (1) the principal purpose of Defendant’s business is the collection of debt owed

  or due or asserted to be owed or due another; and (2) it regularly collects consumer

  debt owed to others.

         14.   Defendant is a “debt collector” as defined by Fla. Stat. § 559.55(7).

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                                FACTUAL ALLEGATIONS

        15.     At all times relevant, Plaintiff was the sole operator, possessor, and

  subscriber of the cellular telephone number ending in 1624.

        16.     At all times relevant, Plaintiff’s number ending in 1624 was assigned to

  a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

        17.     At all times relevant, Plaintiff was financially responsible for her cellular

  telephone equipment and services.

        18.     At some point, Plaintiff received medical services through Baptist Health

  South Florida.

        19.     Due to financial difficulty, Plaintiff was unable to pay for the medical

  services (“subject debt”).

        20.     At some point in time, the subject debt was placed with Defendant for

  collection.

        21.     In the fall of 2020, Plaintiff started receiving collection calls from

  Defendant in an attempt to collect the subject debt.

        22.     On multiple occasions, Plaintiff answered Defendant’s collection calls.

        23.     Frustrated with the incessant collection calls, Plaintiff requested that

  Defendant stop calling her.

        24.     Most recently, on May 14, 2021, Plaintiff answered a phone call from

  Defendant and requested that the phone calls cease.



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         25.    Despite Plaintiff’s request that the collection calls cease, Defendant

  continued its collection calls, including calls from the phone number (786) 594-6688.

         26.    In the calls that Plaintiff did not answer, Defendant would leave pre-

  recorded voicemails on Plaintiff’s cellular telephone.

         27.    Defendant placed no less than 30 unwanted and unconsented to calls to

  Plaintiff’s cellular phone after Plaintiff requested that the collection calls cease.

         28.    Defendant’s incessant collection calls have invaded Plaintiff’s privacy

  and have caused Plaintiff actual harm, including but not limited to, aggravation that

  accompanies unsolicited robocalls, increased risk of personal injury resulting from the

  distraction caused by the robocalls, wear and tear to Plaintiff’s cellular phone, loss of

  battery charge, loss of concentration, mental anguish, nuisance, the per-kilowatt

  electricity costs required to recharge Plaintiff’s cellular telephone as a result of

  increased usage of Plaintiff’s telephone services, and wasting Plaintiff’s time.

         29.    Moreover, each time Defendant placed a telephone call to Plaintiff’s

  cellular phone, Defendant occupied Plaintiff’s cellular phone such that Plaintiff was

  unable to receive other phone calls or otherwise utilize her cellular phone while her

  phone was ringing.

         30.    Due to Defendant’s refusal to honor Plaintiff’s requests that the calls

  cease, Plaintiff was forced to retain counsel to compel Defendant to cease its abusive

  collection practices.



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                                CLASS ALLEGATIONS

        31.    Paragraphs 15 through 30 of this Complaint are expressly adopted and

  incorporated herein as though fully set forth herein.

        32.    Plaintiff brings this action pursuant to Fed. R. Civ. P. 23(b)(2) and

  23(b)(3) individually, and on behalf of all others similarly situated (“Putative Class”)

  defined as follows:


        All persons throughout the United States (1) to whom Defendant placed,
        or caused to be placed, a call; (2) directed to a number assigned to a
        cellular telephone service; (3) using an artificial or prerecorded voice; (4)
        without his/her consent; (5) within the four years preceding the date of
        this complaint through the date of class certification.

        33.    The following individuals are excluded from the Putative Class: (1) any

  Judge or Magistrate Judge presiding over this action and members of their families;

  (2) Defendant, Defendant’s subsidiaries, parents, successors, predecessors, and any

  entity in which Defendant or their parents have a controlling interest and their current

  or former employees, officers and directors; (3) Plaintiff’s attorneys; (4) persons who

  properly execute and file a timely request for exclusion from the Putative Class; (5) the

  legal representatives, successors or assigns of any such excluded persons; and (6)

  persons whose claims against Defendant have been fully and finally adjudicated

  and/or released.

  A.    Numerosity

        34.    Upon information and belief, the members of the Putative Class are so

  numerous that joinder of them is impracticable.
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         35.     The exact number of the members of the Putative Class is unknown to

  Plaintiff at this time, and can only be determined through targeted discovery.

         36.     The members of the Putative Class are ascertainable because the Class is

  defined by reference to objective criteria.

         37.     The members of the Putative Class are identifiable in that their names,

  addresses, and telephone numbers can be identified in business records maintained by

  Defendant.

  B.     Commonality and Predominance

         38.     There are many questions of law and fact common to the claims of

  Plaintiff and the Putative Class.

         39.     Those questions predominate over any questions that may affect

  individual members of the Putative Class.

  C.     Typicality

         40.     Plaintiff’s claims are typical of members of the Putative Class because

  Plaintiff and members of the Putative Class are entitled to damages as a result of

  Defendant’s conduct.

  D.     Superiority and Manageability

         41.     This case is also appropriate for class certification as class proceedings

  are superior to all other available methods for the efficient and fair adjudication of this

  controversy.



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         42.    The damages suffered by the individual members of the Putative Class

  will likely be relatively small, especially given the burden and expense required for

  individual prosecution.

         43.    By contrast, a class action provides the benefits of single adjudication,

  economies of scale, and comprehensive supervision by a single court.

         44.    Economies of effort, expense, and time will be fostered and uniformity

  of decisions ensured.

  E.     Adequate Representation

         45.    Plaintiff will adequately and fairly represent and protect the interests of

  the Putative Class.

         46.    Plaintiff has no interests antagonistic to those of the Putative Class and

  Defendant has no defenses unique to Plaintiff.

         47.    Plaintiff has retained competent and experienced counsel in consumer

  class action litigation.

                                 CLAIMS FOR RELIEF

                                     COUNT I:
   Violations of the Telephone Consumer Protection Act (47 U.S.C. § 227 et. seq.)
           (On behalf of Plaintiff and the Members of the Putative Class)

         48.    Paragraphs 15 through 30 of this Complaint are expressly adopted and

  incorporated herein as though fully set forth herein.

         49.    “The primary purpose of the TCPA was to protect individuals from the

  harassment, invasion of privacy, inconvenience, nuisance, and other harms associated

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  with unsolicited, automated calls.” Parchman v. SLM Corp., 896 F.3d 728, 738-39 (6th

  Cir. 2018) citing Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, §

  2, 105 Stat. 2394 (1991).

           50.   Defendant placed or caused to be placed no less than thirty (30) non-

  emergency , pre-recorded unconsented to calls to Plaintiff’s cellular telephone without

  Plaintiff’s consent in violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

           51.   As pled above, Defendant used a prerecorded voice which automatically

  played upon the call reaching Plaintiff’s voicemail.

           52.   Defendant did not have consent to place calls to Plaintiff’s cellular phone

  after Plaintiff requested that the collection calls cease.

           53.   Upon information and belief, Defendant does not maintain adequate

  policies and procedures to ensure compliance with the TCPA.

           54.   Upon information and belief, Defendant knew its collection practices

  were in violation of the TCPA yet continued to employ them to maximize efficiency

  and profits at the expense of Plaintiff and the Putative Class.

           55.   As pled above, Plaintiff was harmed by Defendant’s unlawful collection

  calls.

           WHEREFORE, Plaintiff on behalf of herself and the members of the Putative

  Class, requests the following relief:




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        a.        an order granting certification of the proposed class, including the

                  designation of Plaintiff as the named representative, and the appointment

                  of the undersigned as Class Counsel;

        b.        an order finding that Defendant violated 47 U.S.C. § 227 (b)(1)(A)(iii);

        c.        an order enjoining Defendant from placing further violating calls to

                  consumers;

        d.        an award of $500.00 in damages to Plaintiff and the members of the

                  Putative Class for each such violation;

        e.        an award of treble damages up to $1,500.00 to Plaintiff and the members

                  of the Putative Class for each such violation; and

        f.        an award of such other relief as this Court deems just and proper.

                                     COUNT II:
    Violations of the Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)
                                (Plaintiff individually)

        56.       Paragraphs 15 through 30 of this Complaint are expressly adopted and

  incorporated herein as though fully set forth herein.

        a. Violations of FDCPA § 1692c

        57.       Pursuant to § 1692c(a)(1) of the FDCPA, a debt collector is prohibited

  from contacting a consumer “at any unusual time or place or a time or place known

  or which should be known to be inconvenient to the consumer…” 15 U.S.C.

  §1692c(a)(1).



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         58.       As set forth above, Plaintiff requested that Defendant cease its collection

  calls to her cellular phone.

         59.       Despite being notified that its collection calls were unwanted, Defendant

  made the conscious decision to continue its harassing phone calls, which were clearly

  inconvenient to Plaintiff.

         60.       Defendant violated § 1692c(a)(1) by placing at least 30 collection calls to

  Plaintiff’s cellular phone number at a time Defendant knew to be inconvenient for

  Plaintiff.

         61.       In other words, since Plaintiff did not want any calls from Defendant, any

  call placed after the cease request was known by Defendant to be an inconvenient time

  for Plaintiff.

         b. Violations of FDCPA § 1692d

         62.       Pursuant to § 1692d of the FDCPA, a debt collector is prohibited from

  engaging “in any conduct the natural consequence of which is to harass, oppress, or

  abuse any person in connection with the collection of a debt.” 15 U.S.C. §1692d.

         63.       Section 1692d(5) of the FDCPA prohibits a debt collector from “causing

  a telephone to ring or engaging any person in telephone conversation repeatedly or

  continuously with intent to annoy, abuse, or harass any person at the called number.”

  15 U.S.C. §1692d(5).




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        64.    Defendant violated §§ 1692d and d(5) by placing at least 30 collection

  calls to Plaintiff’s cellular phone number in an attempt to collect the subject debt after

  being requested to cease the unwanted calls.

        65.    Defendant’s conduct in systematically placing unwanted calls to

  Plaintiff’s cellular phone number is inherently harassing and abusive.

        66.    Defendant’s collection calls to Plaintiff were made with the specific intent

  of annoying, harassing, and abusing Plaintiff as Plaintiff informed Defendant she no

  longer wished to be contacted on her cellular telephone.

        67.    The fact that Defendant knowingly placed calls to Plaintiff after Plaintiff

  made requests that the calls cease is illustrative of Defendant’s intent to harass and

  annoy Plaintiff.

        WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in

  her favor as follows:


        a.      Declaring that the practices complained of herein are unlawful and

                violate the Fair Debt Collection Practices Act;

        b.      Awarding Plaintiff statutory and actual damages, in an amount to be

                determined at trial, for the underlying Fair Debt Collection Practices

                Act violations;

        c.     Awarding Plaintiff her costs and reasonable attorney’s fees pursuant to

               15 U.S.C. §1692k; and


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           d.    Awarding any other relief as this Honorable Court deems just and

           appropriate.

                                    COUNT III:
  Violations of the Florida Consumer Collection Practices Act (Fla. Stat. § 559.55 et
                                         seq.)
                               (Plaintiff individually)

           68.   Paragraphs 15 through 30 of this Complaint are expressly adopted and

  incorporated herein as though fully set forth herein.

           69.   Subsection 559.72(7) of the FCCPA provides:

           In collecting consumer debts, no person shall:

                 (7)      Willfully communicate with the debtor or any member of
                          her or his family with such frequency as can reasonably be
                          expected to harass the debtor or her or his family, or
                          willfully engage in other conduct which can reasonably be
                          expected to abuse or harass the debtor or any member of her
                          or his family.

                 Fla. Stat. § 559.72(7).

           70.   Defendant violated Fla. Stat. § 559.72(7) by continuously calling Plaintiff

  after Plaintiff requested that the calls cease.

           71.   Defendant’s incessant collection calls were placed with the intent to

  harass Plaintiff and pressure Plaintiff into making payment on the subject debt.

           72.   Plaintiff was harassed and abused by Defendant’s incessant collection

  calls.

           WHEREFORE, Plaintiff requests that this Honorable Court enter judgment

  in her favor as follows:

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        a.    a finding that Defendant violated Fla. Stat. § 559.72(7);

        b.    an award of actual damages sustained by Plaintiff as a result of

              Defendant’s violations;

        c.    an award of additional statutory damages, as the Court may allow, but

              not exceeding $1,000.00;

        d.    an award of court costs and reasonable attorney’s fees incurred by

              Plaintiff; and

        e.    an award of such other relief as this Court deems just and proper,

                               DEMAND FOR JURY TRIAL

        Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury.

  Date: July 30, 2021                    Respectfully submitted,

                                         MICHELLE HERNÁNDEZ

                                         By: /s/ Alexander J. Taylor

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